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        R.     WAIVER OF DEFENSES AND APPEAL RIGHTS: The Defend ant

  hereby waives all defenses and rights to appeal any non-jurisdictional issues.

  The parties agree that excluded from this waiver is the Defendant's right to

  appeal any decision by the Court to depart upward pursuant to the United States

  Sentencing Guidelines as well as the length of sentence for a determination of

  its substantive reasonableness should the Court impose an upward departure

  or an upward vari ance pursuant to 18 U.S.C. § 3553(a). Claims that the

  Defendant's counsel rendered constitutionally ineffective assistance are also

  excluded from this waiver.

        S.     SUPPLEMENT TO PLEA AGREEMENT: The United States will file

  a Supplement to Plea Agreement which is required to be filed in every case in

  compliance with the Court's Local Rules.

                                          ALISON J. RAMSDELL
                                          United States Attorney


   10/22/2024
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  APPROVED:
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  BENJAMIN D. PATTERSON
  Supervisory Assist an t U.S. Attorney

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